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          DECLARATION OF JONATHAN ALEJANDRO ALVIARES ARMAS

I, Jonathan Alejandro Alviares Armas, hereby declare under penalty of perjury pursuant to 28
U.S.C. § 1746 that the following is true and correct.

   1. I make this declaration based on my own personal knowledge, and if called to testify, I
      could and would do so competently and truthfully to these matters.

   2. My name is Jonathan Alejandro Alviares Armas. I believe ICE registered me in their
      system as Jhonatan, but that spelling of my name is incorrect. I am 29 years old and from
      Venezuela. I am the father of a one-year-old son who currently lives in the United States
      with his U.S. citizen mother.

   3. I entered the United States on December 2, 2024, with my son, by way of a CBP One
      appointment. My son was very sick and required serious medical attention. Despite
      following the legal process, I was detained at the El Paso Processing Center immediately
      upon entry and I remained there for about two months.

   4. I expressed fear and was scheduled for a Credible Fear Interview (CFI). During the
      interview, the officer did not have any concern for my fear and safety but rather believed
      I was a gang member because I am Venezuelan and have tattoos. I got this impression
      because the officer asked me several questions about Tren de Aragua, with which I have
      no association. As a result, I asked the officer to pause the interview partway through so
      that I could secure an attorney to represent me. The next day, an ICE officer presented a
      paper to me and asked me to sign it. I asked them to read it to me in Spanish because it is
      written in English, and I do not understand English. The officer told me it was to sign my
      deportation but did not read the document to me in Spanish, nor was a Spanish translation
      provided to me. I signed the document because I did not think I would get a fair CFI
      process after my initial CFI and after hearing from other Venezuelans in my unit that they
      were all being interrogated and accused of being gang members and terrorists. Some days
      before my transfer to Guantánamo, I managed to secure an attorney and as a result, I
      requested a new CFI via the tablet and also by written letter to my deportation officer, but
      I did not receive a response. I never had the opportunity to complete my CFI or see a
      judge.

   5. On the night of February 3, 2025, I was woken up, told to get dressed, and pack up
      because I was going to be deported. Several hours later, nine other people and I were put
      on a military plane, and I began to suspect that I was not being taken to Venezuela
      because of the kind of plane I was on and because I was shackled, including to the floor. I
      began to panic because I did not know where I was going. After many hours of flying, we
      landed, were photographed, and were met with vans and about seven guards per person. I
      felt like a circus animal.

   6. I learned shortly upon arriving at the destination that I was at Guantánamo Bay, Cuba,
      but not because anyone told me. Rather, I saw a rug that had Guantánamo written on it as
      I was entering. I was ordered to strip in the bathroom and show the officers all my body
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   parts, including my penis. I was given five minutes to shower. I was not given a
   toothbrush or clothing.

7. The whole transfer operation seemed unprepared and improvised to me because it was
   apparent that the facility was not ready for use. The place appeared to have been
   abandoned. There were cobwebs, a lot of dust, missing light fixtures, and some cells did
   not have beds. The bathroom did not have any light and the staff needed to bring a light
   fixture. I was the first to be taken there.

8. We were held in very small individual cells with no windows. My tiny cell contained a
   bed with a very thin foam pad, a sink, a bench, a table, and a toilet. There was a camera
   in every room. The lights were kept on, which made it very difficult to tell what time of
   day it was and generally hard to keep track of the days. I could only tell the days by the
   last meal of the day. It also made it very challenging to sleep. I am still having trouble
   sleeping because of my time there. Although the natural temperature of the place seemed
   to be warm and humid, it was very cold in the cells due to the air conditioning, and I was
   given only one thin blanket to keep myself warm. It was insufficient. After some days,
   we were provided with bibles.

9. Prior to my time at Guantánamo, I had never been held in solitary confinement, including
   while detained at the El Paso Processing Center. It was psychologically taxing to be
   forced to stay in a cell for days at end. After some days of being there, we were provided
   an option for “recreation time,” but I was disheartened by that experience. I had hoped to
   see the sun and socialize with others during recreation. Instead, I and a few others were
   placed in a cage within a cage where we finally managed to speak with each other for a
   short time. There was no sunlight or view of the outside world.

10. Desperate for socialization, the other people who were detained and I yelled at each other
    through the cell walls to speak. We also tried to communicate with the outside world. We
    asked to make calls repeatedly and were not allowed to make any. On one occasion, an
    officer told us they would allow us to make a call in three days, but they never did. I
    wanted to speak with my loved ones and an attorney to tell them where I was and what I
    was experiencing, but I never had the opportunity. We did not have access to telephones
    or mail and were told that this was, at least in part, because we were on an island. It was
    especially difficult to be separated from my partner and young child.

11. During my entire time there, I wore the same clothing because we were never provided
    with clothing. We were only allowed to shower every three to four days. It was
    uncomfortable because there were cameras in the bathroom and the guards watched us
    shower. When I first arrived, there was warm water in the shower but then there were
    only cold showers.

12. Within the first three days of our arrival, the other detained people and I began a hunger
    strike. This was our way of protesting the inhumane conditions we were forced to endure
    there, including a lack of sufficient and quality food. The food rations we were given
    were hardly sufficient for a five-year-old-child and it was of terrible quality, somehow
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   worse than the food at the El Paso Processing Center. The food improved slightly after
   our strike, but it was still not enough, and I often felt hungry.

13. Generally, we were provided with drinking water whenever we asked the guards for it.
    However, deprivation or limitation of drinking water was sometimes used as a
    punishment. The psychological effects of our mistreatment manifested quickly and some
    of the people began starting to hurt themselves, including cutting themselves, and
    expressing that they wanted to commit suicide. One person tried to hang himself. When
    one person expressed wanting to kill himself, the officers punished him by halting and
    limiting the provision of water to him.

14. I witnessed physical mistreatment by officers while at Guantánamo. When we were
    finally provided with toothbrushes, it was only temporarily, while we brushed our teeth
    and then we had to return them to the guards. One day, I saw something happen to the
    person who had been deprived of sufficient water because he expressed intent to commit
    suicide. When it was time for him to return his toothbrush, he tried to negotiate with the
    guard and told him he would return the toothbrush once the guard gave him water. The
    guard agreed to swap the items at the same time. When it came time to provide the water
    bottle, the guard would not let go of the bottle as agreed to and slammed a radio onto the
    man’s hand, seriously hurting his hand. I am not aware of this person receiving medical
    treatment for the injury.

15. In addition, some of us were tied up in a chair outside our cells for up to several hours, as
    a form of punishment for protesting our conditions and trying to assert our rights. The
    chair seemed like the kind of chair you see in movies used to restrain crazy people. We
    called this the chair of punishment.

16. We also experienced verbal and psychological mistreatment at Guantánamo. When ICE
    arrived at Guantánamo, we asked them why we were transferred, and they told us we
    were criminals and would pay for our entire lives. Officers told us we were terrorists and
    would be treated as such. I am not a criminal or a terrorist. One officer told us that if it
    were up to him, he would shoot us and throw us in the water. After some time, one of the
    Spanish-speaking officers told us, “none of you seem like terrorists.” However, the
    treatment did not get better after that.

17. I suffer from nightmares due to my time at Guantánamo and I often feel like I’m shackled
    while awake even though I am no longer.

18. Although my detention at El Paso Processing Center was difficult. It does not compare to
    what I lived through at Guantánamo. The conditions at Guantánamo are insufferable. At
    least at El Paso Processing Center, I was able to socialize with other people,
    communicate with loved ones and attorneys, and receive basic necessities. I feel like I
    have been to hell after being detained at Guantánamo and I do not wish the experience of
    being detained at Guantánamo on anyone.

19. I am a different person after my detention at Guantánamo. The conditions there wore me
    down both physically and mentally. I have been out of Guantánamo for some days now
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       and I still feel very dysregulated and unable to fully integrate back into society. I am in
       the process of seeking psychological treatment to help me overcome my experiences
       there. Never did I imagine that traveling to the United States to seek safety for myself and
       medical treatment for my child would result in the worst experiences of my life. I have
       done nothing wrong and it is unjust for the government to baselessly accuse me of gang
       membership and terrorism and detain me incommunicado with no rights at Guantánamo.

   20. Guantánamo is a living hell. No one should be subjected to this kind of treatment.

   21. Because I am in transit through Venezuela without stable internet, I could not sign this
       declaration myself but gave consent to Jennifer Reyes to sign on my behalf.

Executed on the 28th day of February, 2025.
/s/ Jonathan Alejandro Alviares Armas
Jonathan Alejandro Alviares Armas
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                 ATTESTATION AND CERTIFICATE OF TRANSLATION

       I, Jennifer Reyes, certify that I am fluent in both English and Spanish. On February 28,

2025, I personally spoke with Jonathan Alejandro Alviares Armas and read the foregoing

declaration to him, translated into Spanish faithfully and accurately, over the phone. Mr. Alviares

Armas affirmed that he understood my translation and that the information in the above

declaration is true and accurate.

       Due to Mr. Alviares Armas being currently in transit in Venezuela, it was not possible to

obtain a written signature on the above declaration. In addition to confirming that the

information in the above declaration is true, Mr. Alviares Armas also gave me verbal consent to

sign on his behalf.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.




_______________________________
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